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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                                                                     )
 HENDRICK VANGORDEN, on behalf of himself and                        )
           others similarly situated,                                )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 24-Cv-1248
                                                                     )
                                                                     )
  HONEYBEE FOODS CORPORATION (USA) d/b/a                             )
               JOLLIBEE,                                             )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

                                           HONEYBEE FOODS CORPORATION (USA) d/b/a JOLLIBEE,
                                           100 Barranca Street, Suite 1200
                                           West Covina, CA 91791



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Troy L. Kessler
                                           Kessler Matura P.C.
                                           534 Broadhollow Road, Suite 275
                                           Melville, NY 11747
                                           (631) 499-9100


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                BRENNA B. MAHONEY
                                                                                CLERK OF COURT


Date:    02/21/2024
                                                                                          Signature of Clerk or Deputy Clerk
